                                United States District Court
                              Western District of North Carolina
                                     Statesville Division

 Denver Global Products, Inc.,            )            JUDGMENT IN CASE
                                          )
                  Plaintiff(s),           )          5:17-cv-00102-MOC-DSC
                                          )
 vs.                                      )
                                          )
 Roger Leon                               )
 Jeanne Hendrix                           )
 Keith Piercy,                            )
                                          )
               Defendant(s),              )
                                          )
 Chongquing Rato Power Co.,               )
 LTD., et al.,                            )
                                          )
         Third Party Defendant(s)         )




 DECISION BY COURT. This action having come before the Court by Motion and a decision
having been rendered;

IT IS ORDERED AND ADJUDGED that Judgment is hereby entered in accordance with the
Court’s July 16, 2018 Order.

                                                 July 16, 2018




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